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               DECISION ISSUED AUGUST 6, 2024

             In the United States Court of Appeals
              for the District of Columbia Circuit
              Nos. 23-1174, 23-1175, 23-1221 and 23-1221
                              __________

                      CITY OF PORT ISABEL, ET AL.,
                              Petitioners,
                                   v.
              FEDERAL ENERGY REGULATORY COMMISSION,
                           Respondent.
                           __________

              ON PETITIONS FOR REVIEW OF ORDERS OF THE
              FEDERAL ENERGY REGULATORY COMMISSION
                             __________

     RESPONSE OF RESPONDENT FEDERAL ENERGY
  REGULATORY COMMISSION IN SUPPORT OF PETITIONS
   FOR PANEL REHEARING AND REHEARING EN BANC
                     __________

                                         Matthew R. Christiansen
                                          General Counsel

                                         Robert H. Solomon
                                          Solicitor

                                         Robert M. Kennedy
                                          Senior Attorney
                                          robert.kennedy@ferc.gov

                                         For Respondent
                                         Federal Energy Regulatory
                                          Commission
                                         Washington, D.C. 20426
December 9, 2024
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                              GLOSSARY

 CCS                         Carbon capture and sequestration

 Commission or FERC          Federal Energy Regulatory Commission

 EIS                         Environmental Impact Statement

 LNG                         Liquefied natural gas

 NEPA                        National Environmental Policy Act, 42
                             U.S.C. § 4321, et seq.

 Op.                         Opinion (D.C. Cir. Aug. 6, 2024)
                             (Doc #2068430)

 Projects                    Collectively, the Rio Grande and Texas
                             LNG Projects

 Rio Bravo                   Rio Bravo Pipeline Company, LLC

 Rio Grande                  Rio Grande LNG, LLC

 Rio Grande Project          The proposed liquefied natural gas
                             terminal and associated pipeline system
                             being developed by Rio Grande and Rio
                             Bravo

 RGJA                        Joint Appendix from City of Port Isabel v.
                             FERC, Nos. 23-1174, et al.
                             (Doc. #2045210)

 Texas LNG                   Texas LNG Brownsville LLC

 TXJA                        Joint Appendix from City of Port Isabel v.
                             FERC, Nos. 23-1175, et al.
                             (Doc. #2044251)




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                          INTRODUCTION

     The panel in this case vacated Federal Energy Regulatory

Commission orders reaffirming the authorizations of the Rio Bravo

pipeline and Rio Grande liquefied natural gas (“LNG”) terminal (“Rio

Grande Project”) and the Texas LNG terminal (collectively, “Projects”).

The principal basis of the panel’s decision was that the Commission

should have presented its updated environmental justice analysis in a

supplemental Environmental Impact Statement (“EIS”), even though

that analysis – which was based on data noticed for public comment,

and subject to further comment via the Natural Gas Act’s rehearing

process – showed an improved emissions profile, and no significant

impacts within the newly-considered environmental justice

communities. The Commission supports the points of error identified in

the rehearing petitions filed by Intervenors Rio Grande LNG, LLC (“Rio

Grande”), Rio Bravo Pipeline Company, LLC (“Rio Bravo”), and Texas

LNG Brownsville LLC (“Texas LNG”).

     This response focuses on the panel’s (1) merits determination

regarding the need for a supplemental EIS, as it is unmoored from the

record and based on a legal standard that departs from Marsh v. Oregon
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Natural Resources Council, 490 U.S. 360 (1989), and circuit precedent,

(2) connected action ruling, which is now moot, and (3) remedial test,

which conflicts with the circuit’s traditional Allied-Signal framework

and would threaten vacatur in virtually any case involving the National

Environmental Policy Act, 42 U.S.C. § 4321, et seq. (“NEPA”).

                      STATEMENT OF FACTS

     1.    In 2015, the Commission began public outreach to resource

agencies, affected communities, government officials, and other

stakeholders regarding the Projects. RGJA249; TXJA202. After four

years of review, the Commission issued voluminous environmental

impact statements (“EISs”) for both Projects. In each, the Commission

examined the Projects’ impacts on a resource-by-resource basis, using a

31-mile radius for air impacts, and narrower scopes for more localized

impacts, including a 2-mile radius for environmental justice impacts.

RGJA284, 292; TXJA266, 277. The EISs concluded that there could be

significant cumulative visual impacts near the terminals (RGJA461,

TXJA321), but that environmental justice communities would not

experience any other significant impacts from the Projects. RGJA267;

TXJA239. In November 2019, the Commission found that the Projects



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would be environmentally acceptable and consistent with the public

interest. RGJA467, TXJA332.

      2.   Environmental groups sought review and the Court rejected

all but two challenges. As relevant here, the Court found that the

Commission failed to adequately explain why the geographic scope of its

environmental justice analysis was limited to two miles when emissions

could cause impacts within a 50-kilometer/31-mile radius. See Vecinos

para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321,

1330-31 (D.C. Cir. 2021) (“Vecinos I”). The Court remanded the matter

without vacating the Commission’s authorization orders. Id. at 1332.

      3.   On remand, the Commission expanded the geographic scope

of its environmental justice analysis to 31 miles (consistent with EPA

guidance for air modeling) and compiled demographic information

regarding the communities within that radius. RGJA57, TXJA17. And

because the Rio Grande Project had undergone design changes since the

EIS, the Commission solicited updated air quality data regarding both

Projects. RGJA650; TXJA449; see also Vecinos para el Bienestar de la

Comunidad Costera v. FERC, No. 20-1045, 2021 WL 3716769, at *2

(D.C. Cir. Aug. 2, 2021) (“Vecinos II”) (noting design changes that



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“would decrease, not increase, air emissions”). The Commission sought

public input on the data and received and responded to over 150

comments. RGJA38-40, TXJA6-8.

      4.   The Commission published its revised environmental justice

analysis in its remand orders. As before, the analysis found that, apart

from cumulative visual impacts near the terminals, impacts to

environmental justice communities would not be significant. RGJA93,

TXJA39. The Commission thus reaffirmed its authorization of the

Projects. Id.

      The Commission also separately approved amendments to its

prior authorization of the Rio Bravo pipeline, which had undergone

design changes that reduced its environmental footprint. RGJA38.

      5.   Environmental groups petitioned again, and a different

panel vacated and remanded the challenged orders. The panel found,

although no new impacts were identified, the expanded geographic

scope of the Commission’s environmental justice analysis required a

supplemental EIS. Op.12-17.

      The panel also found that the Commission was required to review

Rio Grande’s intervening proposal to build a carbon capture and



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sequestration (“CCS”) system as a “connected action,” even though the

terminal can operate without it. Op.20-23. The panel further held that,

even if the CCS proposal were withdrawn, the Commission would have

to look at the system as a “reasonable alternative” to mitigate

environmental impacts. Op.23-26

      The panel ordered vacatur. It refused to consider whether the

Commission’s reaffirmation of its authorizations could be justified and

made only a glancing reference to the “significant disruption” caused by

its action. Op.34.

      6.   On August 20, 2024, Rio Grande submitted a notice of intent

to withdraw the CCS proposal, explaining that the system is not

feasible at this time. See FERC Dkt. CP22-17-000 (Aug. 20, 2024). No

party protested and the withdrawal became effective on September 4,

2024. See id. (Sept. 10, 2024).

      7.   On September 13, 2024, the Commission provided notice of

its anticipated schedule to address the panel’s remand. The schedule

contemplates issuance of a final supplemental EIS by July 31, 2025,

and a final order by November 20, 2025. See FERC Dkts. CP16-454-

000, CP16-116-000 (Sept. 13, 2024).



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      8.   On November 12, 2024, in Marin Audubon Society v. FAA,

No. 23-1067 (D.C. Cir. Nov. 12, 2024), this Court held that Council on

Environmental Quality regulations are ultra vires and unenforceable.

The government has petitioned for rehearing of Marin Audubon.

Accordingly, the decision will not be addressed in this filing. The

Commission would not object to having this proceeding held in abeyance

pending any further proceedings in Marin Audubon.

                           ARGUMENT

I.    The Panel’s Decision Requiring A Supplemental EIS Is
      Based On An Erroneous Reading Of The Record And
      Is Contrary To Precedent

      A.   The Panel’s Decision Is Factually Unsupported

      A “combination of . . . factors” led the panel to conclude that there

was enough new information in the Commission’s updated

environmental justice analysis to require a supplemental EIS. Op.14.

Each is contradicted by the record.

           1.    The Commission previously considered
                 emissions impacts within a 31-mile radius

      The panel asserted that the Commission’s remand analysis was

“substantially different” because it “analyzed the project’s impacts on

communities within a fifty-kilometer radius (or thirty-one miles).”



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Op.13. But the original analysis of air quality – the only contested

impact extending beyond the previously-studied 2-mile radius – also

looked at impacts on communities within a 31-mile radius. See

RGJA284; TXJA266; Vecinos I, 6 F.4th at 1330 (“the Commission

determined that impacts on air quality from each project could occur

within 31 miles”).

           2.    All identified resources were
                 previously studied

      The panel claimed the remand analysis was “new” because it

“acknowledge[d]” “potential impacts” to wetlands, recreational and

subsistence fishing, and other issues. Op.13. But potential impacts to

each of the resources identified by the panel were addressed in the

EISs. Indeed, apart from emissions, the Commission’s remand analysis

relied exclusively on the studies performed and conclusions reached in

the EISs. RGJA58-65, 72-78, 83-92, TXJA18-31, 36-38.

           3.    A page count is not indicative of new information

      The panel noted that the environmental justice discussion

“expanded” from “five pages to forty-six.” Op.13. But the difference in

length stems mainly from the fact that, for brevity, the EISs’

environmental justice analyses cross-referenced earlier discussions of


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localized issues. See RGJA267 (“impacts of constructing and operating

the LNG Terminal on the natural and human environments are

identified and discussed throughout section 4.0”); TXJA239 (same); see

also 40 C.F.R. § 1502.7 (setting page limits for EISs). By contrast, the

remand analysis spelled out those cross-referenced discussions without

changing the underlying conclusions. RGJA58 (“the final EIS finds”

potential wetland impacts); 59 (“[a]s stated in the final EIS,

recreational fishing activities could be affected”), 60 (“the final EIS

found” potential tourism impacts) 62 (“[t]he final EIS finds” potential

traffic delays), TXJA18, 20, 21, 23 (same).

           4.    The updated data established fewer air
                 quality impacts

      The panel correctly observed that the remand analysis “relied on

updated cumulative air emissions data.” Op.14. But that data

established precisely what was shown before: no exceedances of the

National Ambient Air Quality Standards within a 31-mile radius of the

Projects. RGJA66-72, 82-83, TXJA31-36. In fact, the new data

indisputably showed a reduction in air quality impacts, with

substantial cuts to greenhouse gases and ozone. RGJA28, 45, 71, 188,

456, 550, TXJA142, 145. Earlier in this very case, the Court explained


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that a decrease in emissions is not significant new information

warranting a supplemental EIS. See Vecinos II, 2021 WL 3716769 at

*2.

           5.    Mitigation was imposed to address a
                 previously identified potential impact

      The panel suggested that the remand analysis was based on

significant new information because “the Commission ordered

additional mitigation measures.” Op.14. Those measures were imposed

to address potential air quality impacts arising from overlapping

construction and operational emissions at the terminals. That potential

impact was not new information. The Commission “based its decision”

on “findings” “made public years ago in the Final EIS and Authorization

Order.” RGJA197; TXJA151 (same). And the potential impacts would

occur, if at all, within the previously-studied 2-mile radius. RGJA66-67

(impact would be “near the LNG terminal site”); TXJA31-32 (same).

           6.    The Commission reached the same conclusion

      The panel claimed that the Commission’s original and updated

environmental justice analyses “fundamentally” “arrived at different

conclusions.” Opp.14. Not so. Both concluded that the only potentially

significant impact to environmental justice communities would be


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cumulative visual impacts near the terminals. RGJA93, 461; TXJA39,

329.

       The so-called “fundamental” change is just a tweak in language.

In its initial analysis, the Commission explained that, since “all project-

affected populations are minority and low-income populations, the EIS

objectively concluded that impacts would not be disproportionate, but

‘apply to everyone.’” RGJA557; see also TXJA397-98. The broader

remand analysis also included additional non-environmental justice

communities. Within this larger radius, the Commission found that

comparative impacts on environmental justice communities would be, in

a numeric sense, disproportionately high and adverse because they

would be predominately borne by those communities. RGJA93;

TXJA39; see also Arg. 1:00:30-1:01:20.

       In both analyses, the Commission considered whether these

communities would be uniquely susceptible to health impacts from the

Project. RGJA71, 557-61, TXJA35, 397-403. In both, the Commission

found that they would not. Id. And in both, the Commission found that

cumulative visual impacts would be the only potentially significant




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impact to environmental justice communities. RGJA93, 461; TXJA39,

329.

       Nothing in the record suggests that the Commission’s updated

environmental justice analysis reflected “a seriously different picture of

the environmental landscape,” of the type compelling a supplemental

EIS. Stand Up for California! v. Dep’t of Interior, 994 F.3d 616, 629

(D.C. Cir. 2021) (internal quotation omitted).

       B.   The Panel’s Decision Breaks With NEPA Precedent

       The legal standard used by the panel to assess whether a

supplemental EIS is required departs from settled precedent in

multiple ways.

            1.   Importance of new information drives the
                 need for a supplemental EIS

       The panel tied the need for a supplemental EIS to the volume of

information before the Commission on remand, rather than what it

showed. Op.13-15. But the import of the new information, not its mere

existence, is key. A supplemental EIS is only required where the new

information “will affect the quality of the human environment in a

significant manner or to a significant extent not already considered.”

Marsh, 490 U.S. at 373-74. Here, the original and remand analyses


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both found that the Projects’ impacts would fall on environmental

justice communities, but that none would be significant apart from

changes to the viewshed.

           2.    “Will,” not “might,” is the standard

      The panel found that a supplemental EIS must be prepared

whenever there “might be” significant impacts. Op.15. This lax

threshold conflicts with Marsh’s holding that a supplemental EIS is

only required where new information shows that a project “will”

significantly affect the environment. 490 U.S. at 374.

      The panel’s standard could require the Commission to engage the

formal NEPA processes whenever presented with any new information

regarding environmental effects. This is a sharp departure from the

Commission’s long-held understanding that “agencies may use non-

NEPA procedures to evaluate the significance of new

information . . . when determining whether a supplemental

[Environmental Assessment] or EIS is required.” Erie Blvd.

Hydropower, L.P., 120 FERC ¶ 61,267, P58 (2007) (citing Marsh, 490

U.S. at 383-85). Thus, the Commission does not typically invite public




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comment on its staff’s analysis of new information and deliberation of

whether it requires the supplementation of NEPA documents.

           3.    Whether to place an environmental justice
                 analysis in an EIS is a matter of discretion

      The panel held that a supplemental EIS is required whenever new

information shows “[e]ffects on environmental justice communities.”

Opp.16. But under this Court’s precedent, whether to include an

environmental justice analysis in an EIS, or present it in some other

fashion, such as the Commission order that is equally part of the

administrative record, is a matter committed to the agency’s

“discretion.” Cmtys. Against Runway Expansion, Inc. v. FAA, 355 F.3d

678, 689 (D.C. Cir. 2004); see also Trenton Threatened Skies, Inc. v.

FAA, 90 F.4th 122, 138 (3d Cir. 2024) (same); Coliseum Square Ass’n,

Inc. v. Jackson, 465 F.3d 215, 232 (5th Cir. 2006) (arbitrary and

capricious standard of review applies when agency chooses to include

environmental justice analysis in the record). It cannot be, therefore,

that the Commission’s choice to present an environmental justice

analysis in an order, rather than a NEPA document, is grounds for

vacatur. See also infra p. 17.




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      To be clear, environmental justice is a critical issue for the

Commission. See RGJA167 (“[T]oday’s order takes an unprecedented

and bipartisan step to protect environmental justice communities”),

TXJA127 (same); see also FERC, Equity Action Plan (June 2024)

(https://perma.cc/XF2M-G2AD). But there is no legal requirement

dictating that the analysis be presented in an EIS, especially where

there are no significant environmental impacts within the affected

communities.

           4.    Demographic information alone cannot
                 trigger a supplemental EIS

      The panel separately erred in holding that information showing

“[e]ffects on environmental justice communities” requires a

supplemental EIS, even without corresponding “significant impacts to

the physical environment.” Op.16. The panel’s finding is wrong

because, by definition, “environmental justice impacts” are “human

health or environmental effects.” Exec. Order 12,898 § 1-101, 59 Fed.

Reg. 7629 (Feb. 11, 1994). And Marsh holds that supplementation is

only required where new information shows an impact to “the quality of

the human environment” – i.e., “the natural and physical environment,”




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40 C.F.R. § 1508.1(r) – “in a significant manner” not previously

considered. 490 U.S. at 374.

      Information regarding the demographics of the communities

located between 2 and 31 miles from the Projects – the only issue which

had not been considered at all before – cannot trigger a supplemental

EIS absent a corresponding significant environmental impact not

previously considered.

      C.   The Panel’s Harmless-Error Ruling Is
           Unsupported

      The panel found that the process the Commission used to present

its environmental justice analysis was prejudicial because it (1) used a

15-day comment period, rather than the 45-day period that would have

accompanied a supplemental EIS, and (2) did not “permit any public

comment on its analysis.” Op.19. Neither point is correct.

      First, the panel picked the wrong baseline to measure the

comment period. Where, as here, the new information does not reveal a

significant impact, no comment period on the agency’s documentation of

that conclusion is required. See 40 C.F.R. § 1502.9(d)(4) (2021).

      Second, the panel ignored the Natural Gas Act’s rehearing

process, which provided parties thirty days to comment on the


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Commission’s analysis. 15 U.S.C. § 717r(a). That omission is

particularly significant here.

      The panel’s prejudice finding was based on the view that

Petitioners did not have sufficient time to comment on emissions data

submitted on January 6, 2023. Op.18-19. With a longer comment

period, Petitioners “would have investigated further and submitted

comments.” Op.19. But by the time the deadline for rehearing requests

expired on May 22, 2023, Petitioners had 137 days – three times the 45-

day supplemental EIS comment period – to analyze the emissions data

and raise any issue they saw fit.

      The rehearing period also afforded Petitioners an opportunity to

comment on the Commission’s analysis of the emissions data. The

Commission would have been obligated to address any such comment,

just as it addressed the air quality issues Petitioners chose to pursue.

RGJA188-95 (responding to issues raised regarding air quality data and

analysis); TXJA142-151 (same); see also Pub. Serv. Elec. & Gas Co. v.

FERC, 989 F.3d 10, 19-20 (D.C. Cir. 2021) (“Commission must respond

meaningfully to the arguments raised before it”) (internal quotation




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omitted). It thus cannot be said that “the Commission did not permit

any public comment on its analysis.” Op.19.

      Third, the panel’s decision conflicts with Friends of the River v.

FERC, 720 F.2d 93 (D.C. Cir. 1983). There, the Court explained that a

remand for further NEPA process would be “an insistence on form”

where the Commission’s orders made clear the “agency gave due

consideration to the relevant environmental factors and made that

consideration manifest in an accessible, intelligible form.” Id. That is

precisely the case here. See Nat. Res. Def. Council v. NRC, 879 F.3d

1202, 1211 (D.C. Cir. 2018) (“common sense” counsels against remand

where “Commission had adequately augmented its decision before being

challenged in this court, and did so in a publicly accessible opinion”).

II.   The Panel’s Connected-Action Holding Is Moot And
      Should Be Vacated

      The panel held that the Commission was required to consider Rio

Grande’s CCS proposal as a “connected action” under 40 C.F.R.

§ 1501.9(e)(1)(ii) (2021). Op.23. Rio Grande has now withdrawn that

proposal without opposition. See supra p. 5. The panel correctly

recognized that withdrawal would moot the connected-action issue.

Op.23.


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      Where a post-decision event moots a case before the mandate has

issued, the Court must still dismiss the affected claim. See Clarke v.

United States, 915 F.2d 699, 706 (D.C. Cir. 1990) (en banc). Its

standard practice, in that circumstance, is to simultaneously vacate the

affected portion of the panel decision. Id.; see also United States v.

Schaffer, 240 F.3d 35, 38 (D.C. Cir. 2001) (en banc) (same); Sierra Club

v. FERC, No. 20-1512 (Aug. 25, 2023) (vacating opinion where post-

decision events render case moot).

      Vacatur of the connected-action ruling is particularly warranted

here. As the Interstate Natural Gas Association of America explains,

the panel’s novel connected-action ruling risks subjecting bifurcated

natural gas infrastructure proposals to significant delay in the

environmental review process, which could work to the detriment of the

public interest. The panel’s expansive interpretation of “connected

actions” could discourage developers from proposing environmentally

beneficial design changes for fear of having their projects significantly

delayed by concurrent environmental reviews. See INGAA Amicus Br.

7-10 (Doc. #2082305).




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III. The Panel’s Vacatur Ruling Conflicts With This Court’s
     Allied-Signal Precedent

      The procedural errors identified by the panel do not touch on the

Commission’s conclusion, now reached twice, that the Projects are in

the public interest. Nonetheless, the panel vacated the Commission’s

orders. It did so under a legal test that conflicts with precedent and

ignores the particular facts of this case.

      A.   The Panel’s Test Threatens Vacatur For Any
           NEPA Violation

      For more than thirty years, this Court has analyzed the question

of vacatur using two factors: (1) “the seriousness of the order’s

deficiencies (and thus the extent of doubt whether the agency chose

correctly)”; and (2) the “disruptive consequences” of vacatur. Allied-

Signal, Inc. v. NRC, 988 F.2d 146, 150-51 (D.C. Cir. 1993).

      In case after case, factor one assessed the likelihood that the

agency could reach the same ultimate result on remand. See, e.g.,

Healthy Gulf v. FERC, 107 F.4th 1033, 1047 (D.C. Cir. 2024)

(considering whether “Commission can redress” NEPA deficiencies “and

still authorize the Project”); Vecinos I, 6 F.4th at 1332 (assessing

whether “Commission can redress” inadequate discussion of social cost

of carbon tool and environmental justice impacts “while reaching the

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same result”); Env’tl Def. Fund v. FERC, 2 F.4th 953, 976 (D.C. Cir.

2021) (considering whether “FERC ‘chose correctly’ in issuing a

Certificate”); City of Oberlin v. FERC, 937 F.3d 599, 611 (D.C. Cir.

2019) (assessing whether “Commission will be able to supply the

explanations required” “even if the agency reaches the same result”).

      Drawing on Standing Rock Sioux Tribe v. U.S. Army Corps of

Engineers, 985 F.3d 1032 (D.C. Cir. 2021), the panel shifted the focus of

the first Allied-Signal factor from the ultimate outcome of the agency

proceedings, to whether the agency could justify the procedural choices

made in its environmental analysis. Op.33. And the panel made the

second Allied-Signal factor conditional: disruptive consequences are

now “weighty only insofar as the agency may be able to rehabilitate its

rationale.” Op.34 (quoting Env’tl Def. Fund, 2 F.4th at 976).

      Of course, the agency’s “rationale” – the justification for its

procedural choices – would have just been reversed under a deferential

standard of review. Dep’t of Transp. v. Pub. Citizen, 541 U.S. 752, 767

(2004) (“rule of reason” applies to agency choices under NEPA).

Accordingly, the likelihood of “rehabilitation,” and thus the relevance of




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disruptive consequences, would seem remote. The panel’s test could

require vacatur in any case involving a purported NEPA violation.

      B.   The Practical Consequences Of The Panel’s Test
           Are Substantial

      The panel’s test is triggered by an agency “bypass[ing] a

fundamental procedural step.” Op. 33. But that hardly cabins its

scope. Here, the Commission did not “bypass” any analysis. It

considered environmental justice impacts twice, and planned to conduct

a full analysis of the CCS proposal when the record was adequately

developed. Op.7-9. The “fundamental” errors were (1) not affording

sufficient comment periods in its environmental justice analysis, and

(2) not putting the Rio Grande Project on hold to consider the CCS

modification, which was proposed two years after that Project had first

been approved. Op.8-9, 19-20, 23. The panel’s test could apparently be

triggered by virtually any NEPA violation.

      In this case, as discussed in Part I supra, the panel at a minimum

overstated the deficiencies of the Commission’s orders. The purported

errors were not the sort of “fundamental” failures that would outweigh

the disruption vacatur would cause. Under either a traditional

application of Allied-Signal, or the panel’s revised formulation, the


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panel’s balancing should have resulted in remand without vacatur, if

these issues were remanded at all.

      The impact of the panel’s test is particularly significant in the

LNG context, where, as the movants and their amici have established,

vacating authorizations of large-scale energy infrastructure projects can

have devasting consequences, including for the supply of LNG to United

States allies in Asia and Europe. See, e.g., Rio Grande Pet. 3-4, 21 (Doc.

#2082499), Texas LNG Pet. 15-16 (Doc. #2081084); Rio Bravo Pet. 6-9

(Doc. #2081229).

      The panel suggests that any disruption would be minimal because

the Commission’s task on remand should not take too long. Op.34.

Developing comprehensive, legally-durable environmental reviews

takes time. And, as this case demonstrates, disagreement with any of

the “almost endless” “line-drawing decisions necessitated by the NEPA

process” often results in further delay. Food & Water Watch v. FERC,

104 F.4th 336, 345 (D.C. Cir. 2024); see, e.g., Citizens Action Coal. of

Ind., Inc. v. FERC, No. 23-1046 (argued May 7, 2024) (challenging

authorization of pipeline project that would facilitate replacement of

coal power plant, resulting in net emissions reduction).



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                            CONCLUSION
      For the foregoing reasons, the Court should grant the petitions for

rehearing filed by Rio Grande, Rio Bravo, and Texas LNG.



                                         Respectfully submitted,

                                         Matthew R. Christiansen
                                         General Counsel

                                         Robert H. Solomon
                                         Solicitor

                                         /s/ Robert M. Kennedy
                                         Robert M. Kennedy
                                         Senior Attorney

Federal Energy Regulatory
  Commission
Washington, D.C. 20426
Tel.: (202) 502-8904
Email: robert.kennedy@ferc.gov

December 9, 2024




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                                    /s/ Robert M. Kennedy
                                    Robert M. Kennedy
                                    Senior Attorney


Federal Energy Regulatory
  Commission
Washington, D.C. 20426
Tel.: (202) 502-8904
Email: robert.kennedy@ferc.gov

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                                    Robert M. Kennedy
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